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                                   4                             IN THE UNITED STATES DISTRICT COURT

                                   5                          FOR THE NORTHERN DISTRICT OF CALIFORNIA

                                   6                                                              Case No. 20-cv-03919 CW
                                         IN RE: COLLEGE ATHLETE NIL
                                   7     LITIGATION                                               NOTICE OF TENTATIVE RULING
                                   8                                                              (Re: Dkt. No. 581)
                                   9
  United States District Court
Northern District of California




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                                  13           On December 13, 2024, the parties filed a joint motion for approval of additional
                                  14   settlement class communications. See Docket No. 581. Given that the motion at issue was filed
                                  15   jointly, the Court is inclined to grant it to the extent that the parties agree to the revised question-
                                  16   and-answer document (Q&A) that is attached to this order as Exhibit A and provide the Court with
                                  17   additional information about the method that the parties propose to use for distributing the Q&A to
                                  18   class members. The Court is inclined to require that the parties publish the revised Q&A on the
                                  19   case website (www.collegeathletecompensation.com) and the website of the National Collegiate
                                  20   Athletic Association (NCAA) so long as the publication of the Q&A on the NCAA’s website
                                  21   includes a link to the case website. If the parties wish to distribute the Q&A more broadly, they
                                  22   shall propose a method of distribution to the Court.
                                  23           Within four days of the date this order is filed, the parties may file a supplemental brief
                                  24   addressing the matters above. If the parties wish to make any modifications to the revised Q&A
                                  25   attached to this order as Exhibit A, they shall file a modified version of the Q&A for the Court’s
                                  26   review and approval as an attachment to their supplemental brief and they shall address any such
                                  27   revisions in their supplemental brief. In the future, the parties shall seek Court approval to the
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                                   1   extent that they wish to issue any additional guidance to class members by way of an updated

                                   2   Q&A.

                                   3           Any opposition to the relief sought in the joint motion shall be filed within four days of the

                                   4   date this order is filed.

                                   5           IT IS SO ORDERED.

                                   6     Dated: December 16, 2024
                                                                                             CLAUDIA WILKEN
                                   7                                                         United States District Judge
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  United States District Court
Northern District of California




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